Case 1:98-cr-00038-JMS-MJD Document 182-4 Filed 12/07/20 Page 1 of 1 PagelD #: 2052

BP-A621.060 U.S. DEPARTMENT OF JUSTICE
FEB 05 - FEDERAL BUREAU OF PRISONS

AUTHORIZATION FOR RELEASE OF MEDICAL INFORMATION
aE

 

 

Inmate Name Register Number Date
Willie Boddie 40001-037 T- LO -40
Date of Birth Social °--~ ° -

 

 

 

I hereby authorize and request the Federal Bureau of Prisons to:

 

release information to, or (J obtain information from PLRASE CONTACT IF
PAYMENT IS REQUIRED
Name/Facility: Jeffrey A. Baldwin, Attomey at Law PRIOR TO FILLING
REQUEST

Address: ONE INDIANA SQUARE, 211 N. Pennsylvania Street, Suite 2400
City, State, Zip: INDIANAPOLIS, IN 46204

I understand the information is to be used for (specific reason for release of information):

[J continuation of care, or Other current legal proceedings

 

Information to be Released/Obtained: Copy of and/or information from my medical file pertaining to

 

my evaluation and treatment received from to .
This is to include: [/]Complete Record {Y] Discharge Summary ([Y] History s Physical
[Y]Operative Reports [/] consultations .[¥] progress Notes. X-ray Reports .
[7] naboratory Reports Pathology Reports C Actual Films*# (J actua2 Slides*
@will be rotuensd
oO Other: Eduplicates accapted

 

 

I understand that authorizing the disclosure of this health information is voluntary. I can refuse
to sign this authorization. I need not sign this form in order to assure treatment. I understand
that information used or disclosed pursuant to this authorization could be subject to redisclosure
by the recipient and, if so, may not be subject to federal or state law protecting its
confidentiality. I understand that I may revoke this consent at any time by sending a written notice
te the Supervisor of Medical Records. I understand that any release which has been made prior to
my revocation and which was made in reliance upon this authorization shall not constitute a breach
of my rights to confidentiality. This authorization will automatically expire three months from the
date of the signature.

Signature of Patient Wi . : . Date (Month, Day, Year) ] Staff Witness
Lhe. Beetolie, T -Ab-Z0

FAX SIGNATURE VALID ORIGINAL

 

 

 

 

SPECIFIC AUTRORIZATION FOR RELEASE OF INFORMATION PROTECTED BY STATE OR FEDERAL LAW.
Must sign below, to Release Protected Information.

I specifically authorize the release of data and information relating to:

 
 

 

 

 

1. Substapce 3. Mental Health 3. "Y Z “J
> Sighature a c Date 4s
Deliver Records To: (Institution Address & Fax number)
Jaffray A. Baldwin
Atiomey at Law

Ona Indiana Square
211 N. Pennsyivania Street, Suite 2400
Indianapolis, IN 46204

 

Fax 317/831.1100 ae —_ ean
(This form may be raplicated via WP) This form replaces BP-S621 Dtd AUG 96
